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                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,

                Plaintiff,                         Case No. 1:22-CR-00056-SWS

       v.

JOSEPH ALAN HOADLEY,                               ORDER GRANTING USA’S
                                                   UNOPPOSED MOTION FOR TRIAL
           Defendant.                              CONTINUANCE
____________________________________

       This matter comes before the Court on the Government’s Motion for Trial

Continuance (ECF 24) and the Defendant’s non-objection (ECF 27). Having considered

the parties’ positions and reviewed the record herein, the Court finds an ends-of-justice

continuance is warranted under 18 U.S.C. § 3161(h)(7).

       1.       Trial in this matter is currently set to commence on June 21, 2022. (ECF 20.)

       2.       An ends-of-justice continuance demands the ends of justice served by the

continuance outweigh the best interests of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A). In determining whether an ends-of-justice continuance is

warranted, the Court considers the four non-exclusive factors identified in § 3161(h)(7)(B),

which are summarized as follows:

       (i)      Whether denying the requested continuance would make continuing the
                proceeding impossible or result in a miscarriage of justice;
       (ii)     Whether the case is so complex that it is unreasonable to expect the parties
                to be ready for trial in the time limits required under the Speedy Trial Act;
       (iii)    Where arrest precedes indictment, whether a delay in filing the indictment
                occurs because of the timing of the arrest or because the grand jury must
                weigh particularly unusual or complex facts; and

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       (iv)     Where a case is not so complex as to qualify under subsection (ii) above,
                whether denying the requested continuance would deny counsel to the
                defendant, would deny the defendant or government continuity of counsel,
                or would deny the defendant or government the reasonable time necessary to
                effectively prepare for trial, taking into account the parties’ exercise of due
                diligence.

18 U.S.C. § 3161(h)(7)(B).

       3.       The Defendant was indicted on one count of deprivation of rights under color

of law and one count of destroying, altering, or falsifying records in federal investigations.

(ECF 14.) He is on pretrial release (ECF 21), and he was charged by information prior to

indictment (ECF 3.)

       4.       While perhaps not exceptionally complex, the unusual nature of this case

supports additional time beyond that normally prescribed by the Speedy Trial Act. See 18

U.S.C. § 3161(h)(7)(B)(ii). Additionally, the lead prosecutor has developed a unique

understanding of the facts and procedural history of the case, and an ends-of-justice

continuance is warranted to allow the Government continuity of counsel. See 18 U.S.C. §

3161(h)(7)(B)(iv). For these reasons, and despite the apparent due diligence by counsel,

the Court finds the ends of justice served by granting the requested continuance outweigh

the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED that the Government’s Motion for Trial

Continuance (ECF 24) is GRANTED. The jury trial currently set to begin on September

June 21, 2021, is vacated and reset to commence on September 19, 2022, at 9:00 a.m. in

Boise Courtroom 2. The parties shall continue to adhere to all provisions of the Criminal

Procedural Order set forth in General Order #377.


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       IT IS FURTHER ORDERED that the Telephonic Pretrial Conference set for June

7, 2022, is vacated and reset for September 13, 2022, at 8:15 a.m. Dial-in instructions

will be supplied to counsel at a later date.

       IT IS FINALLY ORDERED that the time between the date the Motion for Trial

Continuance was filed (April 25, 2022) and the new trial date (September 19, 2022) shall

be excluded from the speedy trial calculation in this case pursuant to 18 U.S.C. §§

3161(h)(1)(D) and 3161(h)(7)(A).

       DATED: April _______, 2022.



                                                   Scott W. Skavdahl
                                                   United States District Judge




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